                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                                 SALISBURY DIVISION

CANDY FRYE,                                      )
                                                 )
       Plaintiff,                                )
                                                 )    No.      1:10-cv-821
       vs.                                       )
                                                 )
JON BARRY & ASSOCIATES, INC.,                    )    JURY DEMAND ENDORSED HEREON
                                                 )
       Defendant.                                )


                                          COMPLAINT

       NOW COMES the Plaintiff, CANDY FRYE, by and through her attorney, M. LYNETTE

HARTSELL, and for her Complaint against the Defendant, JON BARRY & ASSOCIATES,

INC., Plaintiff alleges and states as follows:

                                 PRELIMINARY STATEMENT

       1.      This is an action for actual and statutory damages for violations of the Fair Debt

Collection Practices Act (hereinafter the “FDCPA”), 15 U.S.C. § 1692, et seq., and the North

Carolina Prohibited Practices by Collection Agencies Engaged in the Collection of Debts from

Consumers Statute, N.C. Gen. Stat. § 58-70-90, et seq.

                                 JURISDICTION AND VENUE

       2.      Jurisdiction arises under the FDCPA, 15 U.S.C. § 1692, et seq. Venue lies

properly in this district pursuant to 28 U.S.C. § 1391(b), as a substantial part of the events and

omissions giving rise to the claim occurred within this District.

                                             PARTIES

       3.      Plaintiff is an individual who was at all relevant times residing in China Grove,

North Carolina.




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        4.     Plaintiff is a “consumer” as defined in 15 U.S.C. § 1692a(3) and N.C. Gen. Stat. §

58-70-90(2), as she is a natural person allegedly obligated to pay a debt.

        5.     At all relevant times, Defendant acted as a “debt collector” within the meaning of

15 U.S.C. § 1692a(6) and as a “collection agency” within the meaning of N.C. Gen. Stat. § 58-

70-90(1), in that it held itself out to be a company collecting a consumer debt allegedly owed by

Plaintiff.

        6.     On information and belief, Defendant is a corporation of the State of North

Carolina which has its principal place of business in Concord, North Carolina.

                                            COUNT I

                       (Violation of the Fair Debt Collection Practices Act)

        7.     On or about January 10, 2010, Defendant’s representatives and/or employees,

including but not limited to individuals who represented themselves as Jonathan (last name

unknown), Alisha (last name unknown), Alex (last name unknown), Brett, (last name unknown),

and Melissa (last name unknown) began contacting Plaintiff by telephone multiple times per day

in attempts to collect the aforementioned alleged debt.

        8.     At times, Defendant’s representatives and/or employees contacted Plaintiff by

telephone on almost a daily basis, sometimes calling as many as five (5) to six (6) times per day,

from January of 2010 through March of 2010 in attempts to collect the alleged debt.

        9.     During one the of the aforementioned telephone conversations, Defendant’s

representative and/or employee used obscene, profane and/or abusive language with Plaintiff,

including but not limited to stating that if Plaintiff had not survived her medical procedure

(which was the basis for which the alleged debt was incurred), his company could have collected

the money from Plaintiff’s life insurance company.




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        10.     On or about January 18, 2010, Defendant mailed a letter to Plaintiff threatening to

report the alleged debt to all three credit reporting agencies if Plaintiff did not pay the alleged

debt. This threat overshadowed and/or was inconsistent with Plaintiff’s right to dispute the debt

or to request the name of the original creditor, as set forth in said letter. A copy of said letter is

attached hereto as Exhibit 1.

        11.     Moreover, on at least two occasions, including but not limited to on or about April

14, 2010, Plaintiff mailed a letter to Defendant requesting for all communications from

Defendant to cease. A copy of said letter is attached as Exhibit 2.

        12.     Nonetheless, Defendant’s representatives and/or employees continued to contact

Plaintiff in attempts to collect the alleged debt.

        13.     In its attempts to collect the aforementioned alleged debt, Defendant violated the

FDCPA in one or more of the following ways:

                a.      Continuing to communicate with Plaintiff after Defendant was notified in

                        writing that she wished for Defendant to cease further communication

                        with her, in violation of 15 U.S.C. § 1692c(c);

                b.      Using obscene or profane language and/or language the natural

                        consequence of which was to abuse Plaintiff, in violation of 15 U.S.C. §

                        1692d(2);

                c.      Causing a telephone to ring or engaging Plaintiff in telephone

                        conversation with such frequency as to constitute harassment, in violation

                        of 15 U.S.C. § 1692d(5);

                d.      Participating in collection activities which overshadowed and/or were

                        inconsistent with Plaintiff’s right to dispute the debt or to request the name




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                        and address of the original creditor, in violation of 15 U.S.C. § 1692g(b)

                        and

               e.       By acting in an otherwise deceptive, unfair and unconscionable manner

                        and failing to comply with the FDCPA.

       14.     As a result of Defendant’s violations as aforesaid, Plaintiff has suffered and

continues to suffer personal humiliation, embarrassment, mental anguish and emotional distress.

       WHEREFORE, Plaintiff, CANDY FRYE, respectfully prays for a judgment against

Defendant as follows:

               a.       Statutory damages of $1,000.00 for each violation of the FDCPA;

               b.       All reasonable attorneys’ fees, witness fees, court costs and other litigation

                        costs incurred by Plaintiff; and

               c.       Any other relief deemed appropriate by this Honorable Court.

                                              COUNT II

          (Violation of the North Carolina Prohibited Practices by Collection Agencies

                    Engaged in the Collection of Debts from Consumers Statute)

       15.     Plaintiff hereby adopts, re-alleges and incorporates by reference all allegations set

forth above as though fully rewritten here.

       16.     In its attempts to collect the aforementioned alleged debt, Defendant violated the

North Carolina Prohibited Practices by Collection Agencies Engaged in the Collection of Debts

from Consumers Statute in one or more of the following ways:

               a.       Using obscene or profane language and/or language the natural

                        consequence of which was to abuse Plaintiff, in violation of N.C. Gen.

                        Stat. 58-70-100(1);




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               b.       Causing a telephone to ring or engaging Plaintiff in telephone

                        conversation with such frequency as to constitute harassment, in violation

                        of N.C. Gen. Stat. § 58-70-100(3); and

               c.       By acting in an otherwise deceptive, unfair and unconscionable manner

                        and failing to comply with North Carolina law.

       17.     As a result of Defendant’s violations as aforesaid, Plaintiff has suffered and

continues to suffer personal humiliation, embarrassment, mental anguish and emotional distress.

       WHEREFORE, Plaintiff, CANDY FRYE, respectfully prays for a judgment against

Defendant as follows:

               a.       Statutory damages of $4,000.00 for each violation of the North Carolina

                        Prohibited Practices by Collection Agencies Engaged in the Collection of

                        Debts from Consumers Statute;

               b.       All reasonable attorneys’ fees, witness fees, court costs and other litigation

                        costs incurred by Plaintiff; and

               c.       Any other relief deemed appropriate by this Honorable Court.


                                         JURY DEMAND

       Pursuant to Civil Rule 38, Plaintiff hereby demands a trial by jury on all issues in this

action, except for any issues relating to the amount of attorneys’ fees and litigation costs to be

awarded should Plaintiff prevail on any of her claims in this action.




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                                   Respectfully Submitted,

                                   /s/ M. Lynette Hartsell
                                   M. Lynette Hartsell (9845)
                                   Attorney for Plaintiff
                                   1010 Lakeview Drive
                                   Cedar Grove, NC 27231
                                   (888) 493-0770, ext. 305
                                   (866) 551-7791 fax
                                   Lynette@LuxenburgLevin.com




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